Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 1 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 2 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 3 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 4 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 5 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 6 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 7 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 8 of 9
Case 3:19-cv-00580-RJC Document 13 Filed 12/06/19 Page 9 of 9
